AO 91 (Rev 8/01) CGrienjnaly

 

 

United States District Court

SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION

UNITED STATES OF AMERICA

 

 

Vv | CRIMINAL COMPLAINT
Jose Alberto Castillo PRINCIPAL United, States District C ~ Case Number:
; hited States District Court
YOB: 2001 Southern District Of Texas M-19-0811-M
FILED
APR 10 2019 ,
(Name and Address of Defendant)
. . David J. Bradley, Clerk”
I, the undersigned complainant being duly sworn state the following ts truc*arrtcorfect to the best of my
’ knowledge and belief. On or about April 8, 2019 in Hidalgo County, in
the Southern District of Texas defendants(s) did,

(Track Statutory Language of Offense)

knowing or in reckless disregard of the fact that Gloria Guadalupe Chan-Tuz and Alejandro Natael Narvaez-
Tziu, citizens and nationals of Mexico, along with six (6) other undocumented aliens, for a total of eight (8), who
had entered the United States in violation of law, did knowingly transport, or move or attempted to transport
said aliens in furtherance of such violation of law within the United States, that is, from a location near Mission,
Texas to the point of arrest near Mission, Texas,

in violation of Title 8 United States Code, Section(s) , 1324(a)(1)(A)(ii) FELONY

 

I further state that I am a(n) U.S. Senior Border Patrol Agent and that this complaint is based on the
following facts:

On April 8, 2019, the McAllen Border Patrol Station received a phone call from a concerned citizen stating
that a suspicious Chevrolet Suburban was driving on a property primarily used for farming near Mission,
Texas. This area has direct access to the Rio Grande River and is well-known for human smuggling.

SEE ATTACHED

Continued on the attached sheet and made a part of this complaint: [xlYes |__|No
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4 Signature of Sompfainant
1h aK

 

 

 

Ernie E. Bergollo Senior Patrol Agent
Sworn to before me and subscribed in my presence, Printed Name of Complainant
April 10, 2019 at McAllen, Texas
Date City and State

    

J Scott Hacker _U. S. Magistrate Judge A

Name and Title of Judicial Officer Signat Judigfal Officer

 

 
Case 7:19- cONFED STATES DISTRICT COURTSD Page 20f5
SOUTHERN DISTRICT OF TEXAS
' McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:
M-19-0811-M

RE: Jose Alberto Castillo

_ CONTINUATION:

A Border Patrol Agent responded and observed a brown Suburban traveling on the border
levee. As the Agent approached the vehicle, the Suburban immediately came to a stop, and
reversed away from the Agent at a high rate of speed. The Agent proceeded to follow the
vehicle and observed two occupants through the windshield. The Agent also noted that the
driver began to drive erratically and recklessly through an empty field towards the river.

At this time, the Agent activated his emergency equipment, however the driver of the .
Suburban failed to stop. After a short pursuit, the Suburban crashed into a fence and the
Agent observed several subjects attempting to bail out from the vehicle. As the Agent
secured the vehicle, he observed multiple subjects in the rear cargo area. Shortly thereafter,
the Agent observed a male driver exit the vehicle and abscond. A total of eight subjects were
apprehended who were later determined to be illegally present in the United States.

The driver, later identified as Jose Alberto Castillo, a United States Citizen, was eventually °
apprehended with the assistance of a canine. Agents asked Castillo if he was the driver of the
Suburban, to which Castillo admitted he was. Castillo was read his Miranda Rights and
transported to the Border Patrol Station to be processed accordingly.

PRINCIPAL STATEMENT:
Jose Alberto Castillo was read his Miranda Rights. He understood and agreed to provide a
sworn statement.

Castillo stated he used the brown suburban to pick up the illegal aliens. Castillo claims this is
his second time attempting to pick up illegal aliens. Castillo claims that the person who hired
him was giving him instructions over the phone. Castillo stated he was going to receive
$1,500 to transport them.

MATERIAL WITNESS STATEMENTS:
Gloria Guadalupe Chan-Tuz and Alejandro Natael Narvaez-Tziu were read their Miranda
. Rights and agreed to provide a sworn statement.

Chan, a citizen of Mexico, stated she crossed the Rio Grande River along with seven others
into the United States. Chan stated that once she crossed the river she boarded a four door
gray in color “enclosed truck” (SUV) and was seated in the front passenger seat. Chan stated
‘that when they were leaving the area, they encountered an immigration vehicle who
immediately got behind them. Chan was able to describe the driver as a skinny male with
dark skin. Y

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Case 79-1 GRIFED SEATES BISTRIGTEOURP®? P20" 2°15
SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:

NM-19-0811-M
RE: . Jose Alberto Castillo

CONTINUATION:

Narvaez, a citizen of Mexico, stated he paid $10,000 (USD) for his smuggling arrangements.
Narvaez stated he crossed into the United States on a raft with eight other people who were
traveling with him. Narvaez stated he then boarded a tan in color Suburban and laid down on
the rear passenger seat. Narvaez stated he was unable to see the driver’s face because he
boarded through the back of the vehicle, however, he was able to describe the driver as a
male because he heard him talking. Narvaez stated that one of the females travelling with
him was seated in the front seat. Narvaez stated that the driver was driving fast and when the
vehicle stopped, the driver attempted to break the glass but he couldn’t.

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Case 7:19-cr-00705 Document1 Filed on 04/10/19 in T@ked Sades Ditfct Court

Southern District Of Texas
FILED

THE STATE OF TEXAS ) M-19-0811-M APR 10 2019

David J. Bradley, Clerk"
COUNTY OF Hidalgo ) Linn atns sare neon eteannertmenenenendtt

Before me, the undersigned authority, on this day personally appeared
Ernie E. Bergollo known to be the person whose name is subscribed
hereto, and being by me first duly sworn, upon oath deposes and says:

"I am a Senior Patrol Agent stationed at McAllen, Texas

 

and I investigated the case of the United States of America versus

Jose Alberto Castillo 2001 United States

 

 

 

and from my investigation, it appears that:

 

 

 

 

Gloria Guadalupe Chan-Tuz 1993 Mexico
Alejandro Natael Narvaez-Tziu 1994 Mexico
citizens and nationals of Mexico are material

 

witnesses in said cause that it may be impractical to secure their
presence by subpoena and for that reason they should be held as material

witnesses."

FURTHER AFFIANT SAYETH NOT.

 

Senior Patrol Agent

SUBSCRIBED AND SWORN TO BEFORE ME on this April 10, 2019

 

 
